MICHELE POWER
SEAN BROWN
POWER AND BROWN, LLC
P.O. BOX 1809
BETHEL, ALASKA 99559
Telephone: (907) 543-4700
Facsimile: (888) 887-1146

Attorneys for Plaintiff


                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

PAULINE BIALY,

                      Plaintiff,

vs.                                              Case No. __________ Civ ( ______ )

UNITED STATES OF AMERICA,
                                                  COMPLAINT FOR DAMAGES
                      Defendant.


       For her complaint, plaintiff, by and through counsel Power and Brown, LLC,

alleges as follows:

                           PARTIES AND JURISDICTION

1.     This action arises under the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.

       Jurisdiction is based on 28 U.S.C. § 1346(a)(2) and 1346(b).

2.     On or about November 4, 2009, plaintiff submitted a timely administrative claim

       based on the facts alleged herein to the Department of Health and Human Services


                                           -1-



         Case 4:10-cv-00016-RRB Document 1 Filed 05/10/10 Page 1 of 3
     and more than six months have passed since the receipt of that claim, which has

     been neither admitted nor denied. The claim is deemed by plaintiff to be denied,

     pursuant to 26 U.S.C. § 2675.

3.   At all times relevant to this action, plaintiff Pauline Bialy was a resident of the

     State of Alaska, domiciled in the city of Bethel.

4.   At the time of the conduct that forms the basis for the allegations in plaintiff’s

     Complaint, the Yukon-Kuskokwim Health Corporation (YKHC) was carrying out

     a compact agreement with the Indian Health Service, and is deemed to be part of

     the Indian Health Service in the Department of Health and Human Services of the

     United States of America pursuant to Public Law 101-512, Title III, § 314.

                     COMMON FACTUAL ALLEGATIONS

5.   On or about September 23, 2009, the floor of YKHC's Yukon-Kuskokwim Delta

     Regional Hospital (YKDRH) in Bethel, Alaska was wet. YKHC failed to

     maintain YKDRH's floor in a safe condition. As a result, Pauline Bialy slipped and

     fell.

6.   As a result of the improper maintenance of YKDRH's floor, Pauline Bialy suffered

     injuries, pain and suffering, inconvenience, loss of wages, medical costs and loss

     of enjoyment of life.

7.   The maintenance of the floor at YKDRH was under the care and control of the

     employees and agents of the Public Health Service, Department of Health and

     Human Services, an agency of the United States of America. At all relevant times

                                           -2-



        Case 4:10-cv-00016-RRB Document 1 Filed 05/10/10 Page 2 of 3
       herein, said employees were acting within the scope of their employment.

8.     In the aforesaid maintenance of the floor of YKDRH, the defendant's employees

       were negligent.

                         CLAIM FOR RELIEF: NEGLIGENCE

9.     Plaintiff incorporates all prior allegations herein.

10.    The floor of YKDRH was under the care and control of YKHC. It had a duty to

       maintain the floor in a non-negligent manner.

11.    Defendant’s employees negligently failed to maintain the floor such that it was in

       a safe condition and left the floor in a dangerous and wet condition.

12.    As a proximate result of the negligence of defendant’s employees and agents,

       Pauline Bialy suffered both past and future damages, including pain and suffering,

       inconvenience, loss of wages, medical costs and loss of enjoyment of life.

                                 PRAYER FOR RELIEF

       WHEREFORE Plaintiff demands judgment for compensatory damages in excess

of $100,000, the precise amount to be proven at trial, plus allowable costs, interest, and

attorneys fees.

       RESPECTFULLY SUBMITTED this 6th day of May, 2010, at Bethel, Alaska.

                                                   s/ Sean Brown
                                                   P.O. Box 1809
                                                   Bethel, Alaska 99559
                                                   Phone: (907) 543-4700
                                                   Fax: (888) 887-1146
                                                   E-mail: admin@powerbrown.com
                                                   ABA No. 0205012

                                             -3-



         Case 4:10-cv-00016-RRB Document 1 Filed 05/10/10 Page 3 of 3
